                            U.S. DEPARTMENT OF JUSTICE


                             U.S. ATTORNEY'S OFFICE
                         WESTERN DISTRICT OF VIRGINIA
                           CHARLOTTESVILLE DIVISION


                                 GRAND JURY
               UNITED STATES COURTHOUSE AND FEDERAL BUILDING
                           255 WEST MAIN STREET
                      CHARLOTTESVILLE, VIRGINIA 22902



                                   TESTIMONY OF
                                    ASHLEY ROSS

                                MONDAY, MAY 7, 2018
                                     1:41 P.M.




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 1 of 95 Pageid#:
                                   5367
                    Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 2

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Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 2 of 95 Pageid#:
                                   5368
                      Testimony of Ashley Ross   May 7, 2018    VR # 16402-276          Page 8

 1                                GRAND JURY

 2                          MONDAY, MAY 7, 2018

 3                                1:41 P.M.

 4              FOREPERSON:         Do you solemnly swear that the

 5 evidence which you may give in this matter is the

 6 truth, the whole truth, and nothing but the truth, so

 7 help you God?

 8              WITNESS:       Yes.

 9 ASHLEY ROSS, having been duly sworn by the Grand Jury

10 Foreperson, was examined, and testified as follows:

11 DIRECT EXAMINATION

12 BY MS. CARLTON:

13        Q.    All right, Ms. Ross, if you can sit over

14 here in this seat and make yourself comfortable.                              Good

15 afternoon.

16        A.    Good afternoon.

17        Q.    Ms. Ross, we're recording your testimony in

18 here today so we need you to speak up, okay?

19        A.    Okay.

20        Q.    Good afternoon.

21        A.    Good afternoon.

22        Q.    Can you all hear her in the back?                       Okay,

23 you're going to have to speak up a little bit more.

24 You can get close to the microphone.                        Scoot yourself

25 closer.     That's it, that's it.               Keep scooting, keep




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 3 of 95 Pageid#:
                                   5369
                       Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 9

 1 scooting.      Thank you, Ms. Ross.

 2        A.    You're welcome.

 3        Q.    Good afternoon.

 4        A.    Good afternoon.

 5        Q.    What is your name?

 6        A.    Ashley Ross.

 7        Q.    How do you spell Ashley for the Court

 8 Reporter?

 9        A.    A-S-H-L-E-Y.

10        Q.    And Ross?

11        A.    R-O-S-S.

12        Q.    What is your date of birth?

13        A.    October 14th, 1995.

14        Q.    And do you recall talking with me very

15 briefly about an hour ago?

16        A.    Yes.

17        Q.    When we were in a conference room right

18 outside this Grand Jury room?

19        A.    Yes.

20        Q.    And was an agent present with us?

21        A.    Yes.

22        Q.    In fact, two agents were with us at one

23 point; is that correct?

24        A.    Yes.

25        Q.    And we spoke for about five minutes?




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 4 of 95 Pageid#:
                                   5370
                      Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 10

 1        A.    Yes.

 2        Q.    And you recall during that conversation I

 3 told you that I was going to read to you certain

 4 rights in the Grand Jury?

 5        A.    Yes.

 6        Q.    And did I explain to you some of those

 7 rights?

 8        A.    Yes.

 9        Q.    The Grand Jury is conducting an

10 investigation of possible violations of Federal

11 criminal laws.        Do you understand that?

12        A.    Yes.

13        Q.    Do you have any questions about that?

14        A.    No.

15        Q.    You may refuse to answer any question if a

16 truthful answer to the question would tend incriminate

17 you or you believe would get you into trouble.

18        A.    Okay.

19        Q.    Do you understand that?

20        A.    Yes.

21        Q.    Any questions about that?

22        A.    No.

23        Q.    And we talked about that in that conference

24 room; is that right?

25        A.    Yes.




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 5 of 95 Pageid#:
                                   5371
                      Testimony of Ashley Ross   May 7, 2018   VR # 16402-276            Page 11

 1        Q.    Anything you say may be used against you by

 2 the Grand Jury or a subsequent legal proceeding.

 3        A.    Okay.

 4        Q.    Do you understand that?

 5        A.    Yes.

 6        Q.    Any questions about that?

 7        A.    No.

 8        Q.    Have you retained Counsel?                     Do you have a

 9 lawyer?

10        A.    No.

11        Q.    If you had a lawyer, the Grand Jury would

12 permit you to step outside and to consult with that

13 lawyer if you wanted to during the course of your

14 testimony.      Okay?

15        A.    Okay.

16        Q.    Since you didn't come with a lawyer, if we

17 get to a point where you believe you need a lawyer,

18 will you tell us?

19        A.    Yes.

20        Q.    Will you speak up?

21        A.    Yes.

22        Q.    If you tell a willful falsehood in the Grand

23 Jury, you could be charged with obstruction of justice

24 and perjury, both of which are Federal crimes.                               Do you

25 understand that?




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 6 of 95 Pageid#:
                                   5372
                      Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 12

 1        A.    Yes.

 2        Q.    Do you have any questions about that?

 3        A.    No.

 4        Q.    And when we were in that conference room

 5 about an hour ago, what did I tell you to say to the

 6 Grand Jury?

 7        A.    I forgot.

 8        Q.    The truth?

 9        A.    Oh, yeah, the truth.

10        Q.    Did I tell you to say anything but the

11 truth?

12        A.    No.

13        Q.    Now, Ms. Ross, do you want to be here today?

14        A.    Not really.

15        Q.    Are you subpoenaed to be here?

16        A.    Yes.

17        Q.    Did you come voluntarily?

18        A.    No, yeah.

19        Q.    Did you call us up and volunteer to come and

20 testify today?

21        A.    Oh, no, no, no.

22        Q.    Did you call the FBI up and say I'd like to

23 come and talk to the Grand Jury?

24        A.    No, no.

25        Q.    Were you served with a Grand Jury subpoena




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 7 of 95 Pageid#:
                                   5373
                     Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 13

 1 by Danville Police Department officers?

 2        A.    Yes.

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Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 8 of 95 Pageid#:
                                   5374
                      Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 14

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22        Q.    Do you understand that you're under oath?

23        A.    Hm?

24        Q.    Do you understand that you're under oath?

25        A.    Yeah.      Yes.




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 9 of 95 Pageid#:
                                   5375
                     Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 15

 1         Q.     And do you see the person seated over to

 2 your right?

 3         A.     Yes.

 4         Q.     The Court Reporter.

 5         A.     Mm-hmm (Indicating affirmatively).

 6         Q.     And you, is that a yes?

 7         A.     Yes.

 8         Q.     Do you understand that he is recording your

 9 testimony here today?

10         A.     Yes.

11         Q.     And he's recording what I'm saying as well,

12 right?       Do you see him typing away?

13         A.     Yes.

14         Q.     And so he only records what is said aloud,

15 okay?

16         A.     Okay.

17         Q.     So if you nod or just make a sound with your

18 mouth, he can't record that accurately.

19         A.     Okay.

20         Q.     So if I ask you is that a yes or is that a

21 no or can you say that aloud, I'm asking you to answer

22 in a way so that the Court Reporter can record your

23 testimony accurately.

24         A.     Okay.

25         Q.     Do you understand?




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 10 of 95 Pageid#:
                                    5376
                       Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 16

 1         A.    Yeah.

 2         Q.    So I'm not trying to harass you or be

 3 disrespectful, I'm trying to make sure your testimony

 4 is recorded accurately, okay?

 5         A.    Okay.

 6         Q.    Any questions about that?

 7         A.    No.

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Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 11 of 95 Pageid#:
                                    5377
                      Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 17

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12         Q.    And when did you live at Myrtle Avenue?

13         A.    After I moved from North Hills.

14         Q.    And when was that?

15         A.    Like August, August, probably, no, probably

16 like the beginning of September 2017.                       No, 2016,

17 sorry, 2016.

18         Q.    So when did you move away from North Hills

19 Court?

20         A.    September 2016.

21         Q.    And when you were living at North Hills

22 Court, what address were you living at?

23         A.    111 North Hills Court, Apartment L.

24         Q.    L?

25         A.    L, yeah.




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 12 of 95 Pageid#:
                                    5378
                     Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 18

 1         Q.    As in lady?

 2         A.    Yeah.

 3         Q.    Is that a yes?

 4         A.    Yes.

 5         Q.    Did anyone live there with you?

 6         A.    At first it was me and my best friend,

 7 Shanida Lee.       But we had a falling out and Tanasia

 8 Coleman began to live with me like June she started

 9 living with me.

10         Q.    June of what year, Ms. Ross?

11         A.    Twenty sixteen.

12         Q.    Anyone else?

13         A.    Hm-mmm (Indicating negatively).                    Well, my

14 brother ...

15         Q.    Is that a no?

16         A.    My brother had started staying with me, but

17 he wasn't actually living there.

18         Q.    And who is your brother that was staying?

19         A.    He not my real brother, but Tredarius Keene.

20         Q.    And when did, does he have a nickname?

21         A.    People call him Bub, but I call him

22 Tredarius.

23         Q.    And when did Tredarius start staying with

24 you at North Hills Court?

25         A.    It was maybe like the end of June 2016.




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 13 of 95 Pageid#:
                                    5379
                     Testimony of Ashley Ross   May 7, 2018   VR # 16402-276         Page 19

 1         Q.    And when he would stay with you, would it be

 2 every night?

 3         A.    It, no, not at first, but then it started

 4 being every night.          Not at first, though.

 5         Q.    When did it start being every night?                          How

 6 long was he there before it started being every night?

 7         A.    He was there a couple of weeks before it

 8 started being every night.

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Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 14 of 95 Pageid#:
                                    5380
                     Testimony of Ashley Ross   May 7, 2018   VR # 16402-276          Page 23

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20         Q.    So you quit Nestle in mid-June 2016.                          When

21 did you start working a job again?

22         A.    It was probably September, probably

23 September.      Probably later than that.

24         Q.    So what did you do then between the Nestle

25 job and your next job in September of 2016?                         Did you




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 15 of 95 Pageid#:
                                    5381
                     Testimony of Ashley Ross   May 7, 2018   VR # 16402-276     Page 24

 1 work?

 2         A.    No, I didn't work at that time.                    No, I

 3 wasn't working at that time, I don't think, no.

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16         Q.    And then you said you had a second child?

17         A.    Yes, KeAsia.         She's one.

18         Q.    And how do you spell KeAsia?

19         A.    Capital K-E, capital A-S-I-A.                   Her last name

20 is Ross.

21         Q.    And who's KeAsia's father?

22         A.    Phillip Miles.

23         Q.    Does Phillip have a nickname?

24         A.    I would just call him Phillip.

25         Q.    What do you hear other people calling him?




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 16 of 95 Pageid#:
                                    5382
                     Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 25

 1         A.    "R".

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 8         Q.    Do you have a Facebook account?

 9         A.    Yes.

10         Q.    What's it called?

11         A.    Ashley Ross.

12         Q.    How long have you had that Facebook account?

13         A.    For years.       I don't know how many years, but

14 for years.

15         Q.    For years?

16         A.    Mm-hmm (Indicating affirmatively).

17         Q.    Is that a yes?

18         A.    Yes.

19         Q.    Do you let other people use your Facebook

20 account?

21         A.    Hm-mmm (Indicating negatively).

22         Q.    Is that a no?

23         A.    No, sorry.

24         Q.    Sorry to keep making you do that.

25         A.    Sorry.




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 17 of 95 Pageid#:
                                    5383
                     Testimony of Ashley Ross   May 7, 2018   VR # 16402-276        Page 26

 1         Q.    That's okay.         All right, Ms. Ross, I'm going

 2 to show you something that's been marked as AR1, okay?

 3         A.    Okay.

 4         Q.    Do you see this?

 5 (WHEREUPON, the Witness examined the document

 6 previously marked Grand Jury Exhibit-AR1 for

 7 Identification.)

 8         A.    Mm-hmm (Indicating affirmatively).

 9         Q.    Is that a yes?

10         A.    Yes, yes, yes.

11         Q.    Do you see where it says Facebook business

12 record at the top?

13         A.    Yes.

14         Q.    And do you see where it says name?

15         A.    Yes.

16         Q.    And it says Ashley Ross.                Is that you?

17         A.    Yes.

18         Q.    And do you see here where it has two email

19 addresses?

20         A.    Yes.

21         Q.    Unnaturallybeauty95@gmail.com.

22         A.    Yes.

23         Q.    And an ashley.l.harriston@facebook.com.                       Do

24 you see that?

25         A.    Yes.




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 18 of 95 Pageid#:
                                    5384
                     Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 27

 1         Q.    Are those your email addresses?

 2         A.    Well, the first one is.               I don't really know

 3 about this second one, the

 4 ashley.l.harriston@facebook.com.

 5         Q.    But the gmail account is yours?

 6         A.    Yes.

 7         Q.    And do you see right here, it says vanity

 8 name, and it says Ross T. Ashley?

 9         A.    Yes.

10         Q.    Is that you?

11         A.    Yes.

12         Q.    Does this appear to represent your Facebook

13 account?

14         A.    Do it appear as my name on Facebook?

15         Q.    That's right.

16         A.    It's not like that, not written like that.

17         Q.    But it says Ashley Ross, your Facebook ...

18         A.    Yes.

19         Q.    ... account is Ashley Ross; correct?

20         A.    Yes.

21         Q.    And you see down here where it says phone

22 numbers?

23         A.    Yes.

24         Q.    And you see where it lists two cell phone

25 numbers?




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 19 of 95 Pageid#:
                                    5385
                     Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 28

 1         A.    Yes.

 2         Q.    And this one right here that ends in 8511,

 3 do you see that?

 4         A.    Yes.

 5         Q.    And is that one of your cell phone numbers?

 6         A.    Yes.

 7         Q.    So who is, other than the father of one of

 8 your children, who is Phillip Miles?

 9         A.    Who other than, who is he to me?

10         Q.    Yes, ma'am.

11         A.    Just my child's father.

12         Q.    Well, let me ask you, when did you first

13 meet Phillip Miles?

14         A.    April 2014.

15         Q.    Where did you meet him?

16         A.    A party.

17         Q.    Did you guys start dating after that?

18         A.    A couple of months after that, yes.

19         Q.    And for lack of a better word, at that point

20 did you form a romantic relationship with Mr. Miles?

21         A.    Yeah, you could say that, yeah.

22         Q.    Right, you started dating?

23         A.    Yes.

24         Q.    Did you start sleeping together?

25         A.    Yes.




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 20 of 95 Pageid#:
                                    5386
                      Testimony of Ashley Ross   May 7, 2018   VR # 16402-276       Page 29

 1         Q.    And how often would you see Mr. Miles while

 2 you guys were dating?

 3         A.    Almost every day.

 4         Q.    And other than his nickname, R, have you

 5 ever heard him called anything else?

 6         A.    R, just R.

 7         Q.    When you hear other people talking about

 8 him, what do they call him?

 9         A.    R.

10         Q.    Mr. Miles part of a gang?

11         A.    I don't know who he, honestly.

12         Q.    Why did you pause?

13         A.    Because, I mean, so much, I don't know.                        I

14 don't know.

15         Q.    When did you, you said you started a

16 romantic relationship with Mr. Miles the summer of

17 2014, right?       A couple of months after April of 2014?

18 Is that right?

19         A.    Yeah.

20         Q.    And when did you stop having a romantic

21 relationship with Mr. Miles?

22         A.    It stopped like the end of last, the end of

23 2017, before 2017 end.

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Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 21 of 95 Pageid#:
                                    5387
                     Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 37

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 7         Q.    Did he ever spell words with two C's instead

 8 of a CK?

 9         A.    Yeah.

10         Q.    I mean, you've done that on your Facebook

11 account, right?

12         A.    Mm-hmm (Indicating affirmatively).

13         Q.    On your Facebook account in your messages

14 ...

15         A.    Yeah.

16         Q.    ... you spell things with two C's instead of

17 a CK, right?

18         A.    Yeah.

19         Q.    And why do you do that?               Explain to the

20 Grand Jury why you do a CK, two C's instead of a CK?

21         A.    I don't, it just picked up, it just picked

22 up.

23         Q.    CK means Crip Killer, right?

24         A.    Oh, no, ain't know it mean that.                    But it

25 just, I don't know.           It just picked up.




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 22 of 95 Pageid#:
                                    5388
                     Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 38

 1         Q.    I'm sorry to interrupt you.

 2         A.    It just picked up like I see people and I

 3 just eventually started typing like that.

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Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 23 of 95 Pageid#:
                                    5389
                       Testimony of Ashley Ross   May 7, 2018    VR # 16402-276   Page 43

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 2         Q.    Have you ever heard of the Millas?

 3         A.    Yeah.

 4         Q.    Who are the Millas?

 5         A.    I think they a Blood set.                      I don't know.

 6 Yeah, I think they are a Blood set.

 7         Q.    And how do you know that?

 8         A.    Facebook.

 9         Q.    Who, did the Millas and the Rolling Sixties

10 get along?

11         A.    I don't know, yeah, yeah, somebody and them

12 do, yeah.

13         Q.    And when did the Millas, a Blood set, and

14 the Rolling Sixties, a Crip set, when did they start

15 getting along, do you know?

16         A.    No.

17         Q.    When did they start getting along?

18         A.    I don't know.           When they started, I don't

19 know.

20         Q.    As long as you've known, have they gotten

21 along?

22         A.    Yeah, I guess, yeah.

23         Q.    Are the Millas from the north side?

24         A.    I don't know.

25         Q.    Do you know anyone who associates with the




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 24 of 95 Pageid#:
                                    5390
                       Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 44

 1 Millas?

 2         A.    No.

 3         Q.    Have you ever heard of the Millas and the

 4 rolling Sixties tying the flag?

 5         A.    I saw it on Facebook.

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Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 25 of 95 Pageid#:
                                    5391
                     Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 53

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 7         Q.    Now when you lived at North Hills Court, did

 8 people come to your apartment?

 9         A.    Yes.

10         Q.    Did Phillip ever bring people to your

11 apartment?

12         A.    Them?

13         Q.    Did Phillip ever come with people with him

14 to hang out?

15         A.    Yes.

16         Q.    And Phillip in fact stayed at your apartment

17 for a period of time.

18         A.    What you mean by stayed?

19         Q.    He ever spend the night?

20         A.    Oh, yes.

21         Q.    And when he would come over and hang out or

22 stay, did he bring other people with him?

23         A.    Yes.

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Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 26 of 95 Pageid#:
                                    5392
                       Testimony of Ashley Ross   May 7, 2018   VR # 16402-276            Page 57

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14         Q.    What about Matthew Ferguson?

15         A.    What about him?

16         Q.    What's his nickname?                Do you know Matthew

17 Ferguson?

18         A.    MC, yes.

19         Q.    Let me ask you, let's break it down.                            Do you

20 know Matthew Ferguson?

21         A.    Yes.

22         Q.    What's his nickname?

23         A.    MC.

24         Q.    Did he ever hang out at your apartment at

25 North Hills Court?




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 27 of 95 Pageid#:
                                    5393
                     Testimony of Ashley Ross   May 7, 2018   VR # 16402-276        Page 58

 1         A.    A couple of times, a couple of times.

 2         Q.    He has a nickname for you, doesn't he?

 3         A.    That's what everybody call him, MC.

 4         Q.    But he has a nickname for you.

 5         A.    For me?     Oh, no.

 6         Q.    Does he call you Sis or Sister?

 7         A.    Oh, yeah, he call me his Sis.

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22         Q.    What about Spazz, did he ever come by your

23 apartment?

24         A.    Probably like once, once or twice.                      Not like

25 that, though.




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 28 of 95 Pageid#:
                                    5394
                     Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 59

 1         Q.    What do you mean not like that, though?

 2         A.    I done barely even remember him coming to my

 3 apartment.

 4         Q.    At North Hills Court?

 5         A.    Yes.

 6         Q.    And as we're talking, you're getting quieter

 7 and quieter, Ms. Ross.             Could you be sure to speak

 8 into the microphone so the guys in the back can hear

 9 you?

10         A.    Yes.

11         Q.    And what is Spazz's real name?

12         A.    Laquante.       Yeah, Laquante Adams.

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Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 29 of 95 Pageid#:
                                    5395
                     Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 75

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17         Q.    Is your Facebook account still active?

18         A.    No, not right now, no.

19         Q.    When is the last time you've been on

20 Facebook?

21         A.    Yesterday after I got off work maybe.

22         Q.    And it's not active today?                   When did you

23 shut your Facebook account down?

24         A.    I don't know.         Some time last night.

25         Q.    Why did you shut your Facebook account down




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 30 of 95 Pageid#:
                                    5396
                      Testimony of Ashley Ross   May 7, 2018    VR # 16402-276           Page 76

 1 before coming to testify in a Federal Grand Jury.

 2         A.      I do it like every other night.

 3         Q.      Why do you turn it off?

 4         A.      I don't know.        I just do.

 5         Q.      Ms. Ross, come on.            You're under oath,

 6 you're in front of the Grand Jury.                     Why do you turn

 7 your Facebook account off at night?                         Are you worried

 8 about people looking at it?

 9         A.      Am I worried about people looking at it?

10         Q.      Why do you turn your Facebook account off at

11 night?

12         A.      I just do it.        I mean, I guess, I don't

13 know.        Honestly, I turned it off today because I

14 don't, how can I put it?

15         Q.      Put it truthfully.

16         A.      My kids is on my Facebook and I don't want

17 my kids, them to be brought up in, yeah, so I, yeah,

18 that's why I took it down today.

19         Q.      And do you take it down every day so that

20 your kids can't be monitored?

21         A.      No, I've been taking it down the last few

22 days because Facebook just been doing too much.                               And I

23 already said I was going to deactivate it anyway.                               I

24 just, Facebook is too much.

25         Q.      And did you start taking your Facebook




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 31 of 95 Pageid#:
                                    5397
                     Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 77

 1 account down during, after, or before you got served

 2 with the Grand Jury subpoena?

 3         A.    I took it down after and a little bit

 4 before.

 5         Q.    Why?

 6         A.    It was on and off.

 7         Q.    Why?

 8         A.    I don't know.

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Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 32 of 95 Pageid#:
                                    5398
                     Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 78

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23         Q.    You lived in North Hills Court for a period

24 of time.

25         A.    Yes.




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 33 of 95 Pageid#:
                                    5399
                     Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 79

 1         Q.    Is that correct?

 2         A.    Yes.

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Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 34 of 95 Pageid#:
                                    5400
                     Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 82

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17         Q.    And when you lived at North Hills Court, you

18 gave us the address.           What floor of the building was

19 it?

20         A.    The third.

21         Q.    Is that the top floor?

22         A.    Yes.

23         Q.    And did your living room window face the

24 parking lot?

25         A.    Yes.




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 35 of 95 Pageid#:
                                    5401
                     Testimony of Ashley Ross   May 7, 2018   VR # 16402-276        Page 83

 1         Q.    Ms. Ross, I'm going to show you what's been

 2 marked as Grand Jury Exhibit AR2.                   I'm sorry, AR2.         Do

 3 you see this?

 4 (WHEREUPON, the Witness examined the document

 5 previously marked Grand Jury Exhibit-AR2 for

 6 Identification.)

 7         A.    Mm-hmm (Indicating affirmatively).

 8         Q.    Is that a yes?

 9         A.    Yes.

10         Q.    What is this?

11         A.    North Hills.

12         Q.    Is this a map of North Hills Court?

13         A.    Yes.

14         Q.    Is it the same North Hills Court that you

15 lived in for a period of time in 2016 to '17?

16         A.    Yes.

17         Q.    And do you see your apartment building on

18 here?

19         A.    Yes.

20         Q.    What number?

21         A.    One eleven, 111.

22         Q.    Can you circle it?

23 (WHEREUPON, the Witness complied with the request.)

24         Q.    And you said your apartment looked out, or

25 the living room of your apartment looked out on the




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 36 of 95 Pageid#:
                                    5402
                     Testimony of Ashley Ross   May 7, 2018   VR # 16402-276        Page 84

 1 parking lot; is that right?

 2         A.    Yes.

 3         Q.    I'm showing you what's been marked as Grand

 4 Jury Exhibit AR3.         Do you see that?

 5 (WHEREUPON, the Witness examined the document

 6 previously marked Grand Jury Exhibit-AR3 for

 7 Identification.)

 8         A.    Yes.

 9         Q.    What is that?

10         A.    My window.

11         Q.    Is this a photograph from your living room

12 out into the parking lot at North Hills Court?

13         A.    Yes.

14         Q.    I'm showing you what's been marked AR4.                       Do

15 you see this?

16 (WHEREUPON, the Witness examined the document

17 previously marked Grand Jury Exhibit-AR4 for

18 Identification.)

19         A.    Yes.

20         Q.    What is it?

21         A.    The parking lot.

22         Q.    Is this a view from your apartment out onto

23 the parking lot at North Hills Court?

24         A.    Yeah, yes.

25         Q.    And when I'm showing you AR3, Grand Jury




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 37 of 95 Pageid#:
                                    5403
                     Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 85

 1 Exhibit AR3 in front of you, do you see a building in

 2 that picture?

 3         A.    Yes.

 4         Q.    What building number is that?

 5         A.    Oh, I don't know.

 6         Q.    I'm showing you now what's been marked as

 7 Grand Jury Exhibit AR2.             You said this was a map of

 8 North Hills; correct?

 9         A.    Yes.

10         Q.    So when you're looking out your apartment

11 window, which building number are you looking at?

12         A.    One twenty-four.

13         Q.    So now I'm showing you government's Exhibit

14 AR3, the picture from your living room out into the

15 parking lot.         What building number do you see in that

16 picture?

17         A.    One twenty-four.

18         Q.    And I'm showing you government's Exhibit

19 AR4, which you said was the view from your living room

20 window.      What building do you see in that picture?

21         A.    One twenty-four.

22         Q.    One twenty-four?           What building was Mouse

23 killed in front of?

24         A.    One twenty-four.

25




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 38 of 95 Pageid#:
                                    5404
                     Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 86

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21         Q.    Earlier we were talking that at some point

22 in June Bubba started staying with you.

23         A.    Yes.

24         Q.    He started hanging out there and at some

25 point after a couple of weeks he started staying




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 39 of 95 Pageid#:
                                    5405
                     Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 87

 1 there; correct?

 2         A.    Yes.

 3         Q.    Where in the apartment would he stay?

 4         A.    For days that Tanasia wasn't there, he would

 5 stay in her room.         And if not, he would sleep on the

 6 couch.

 7         Q.    And you said that there was a time when

 8 Tanasia Coleman would stay with you; is that right?

 9         A.    Yes.

10         Q.    Who is Tanasia Coleman?

11         A.    I call her my sister.

12         Q.    And your sister?

13         A.    Mm-hmm (Indicating affirmatively).

14         Q.    Does she have a, is that a yes?

15         A.    Yes.

16         Q.    Does she have a nickname?

17         A.    Nasia.

18         Q.    And based on everything, do you know is

19 Nasia part of a Bloods gang?

20         A.    I never questioned her about nothing, but I

21 don't know to say yes or no.

22         Q.    What do you mean you don't know whether to

23 say yes or no?

24         A.    Because I don't know.

25         Q.    So based on everything you know, you don't




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 40 of 95 Pageid#:
                                    5406
                     Testimony of Ashley Ross   May 7, 2018    VR # 16402-276     Page 88

 1 know whether she's a Blood or not?

 2         A.    She just hangs with them.                    Well, started

 3 hanging with them.

 4         Q.    And who's the them she would hang with?

 5         A.    Well, she was going with Tae.                    Yeah, she was

 6 going with Tae.        But, yeah, Tae, Truck, Shon Don,

 7 yeah.

 8         Q.    So she would hang out with that group of

 9 guys we were talking about?

10         A.    Yes.

11         Q.    And that's that group of guys we were

12 talking about, they were Bloods?

13         A.    Yeah.

14         Q.    And just a, I think you told me earlier and

15 I apologize for not remembering.                   When did Tanasia

16 Coleman start living with you?

17         A.    About June.

18         Q.    Of what year.

19         A.    Twenty sixteen.

20         Q.    Do you recall a shooting that occurred in

21 North Hills Court in June of 2016?

22         A.    Yes.

23         Q.    Was she living with you at that time?

24         A.    Yes.

25         Q.    Before that shooting, how long had she been




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 41 of 95 Pageid#:
                                    5407
                     Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 89

 1 living with you?

 2         A.    Maybe two weeks.           Probably two weeks, a

 3 week, between one and two weeks.

 4         Q.    And did she have a bedroom at your

 5 apartment?

 6         A.    Yes.

 7         Q.    And the other person who lived with you was

 8 your daughter, Harmony?

 9         A.    Yes.

10         Q.    Anyone else?

11         A.    Before Bub, I mean, yeah, before him, no.

12         Q.    And before Tanasia there was someone else?

13         A.    Shanida.

14         Q.    Thank you.       How long have you known Nasia?

15         A.    We was hanging together a couple of years in

16 high school, but we didn't start hang hanging together

17 until maybe like 2015, yeah, about 2015.

18         Q.    And when did you start calling her sister?

19         A.    Well, back in high school we used to call

20 each other sis, but we weren't as close.

21         Q.    And did you guys grow closer after you

22 graduated in 2014?

23         A.    Yes.

24         Q.    And do you love her?

25         A.    Yes.




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 42 of 95 Pageid#:
                                    5408
                     Testimony of Ashley Ross   May 7, 2018   VR # 16402-276           Page 91

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14         Q.     Now when you, and let's restrict it to the

15 summer of 2016, when you were living at North Hills

16 Court, did you know anyone else who was living there

17 in other apartments?

18         A.     I knew Ashanna.

19         Q.     Who is Ashanna?

20         A.     She do makeup and stuff.

21         Q.     Do you remember her last name?

22         A.     Ah, shoot.      Shoot.        I don't remember.              Is it

23 Smith?       I don't remember.

24         Q.     And which apartment or building did she live

25 in?




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 43 of 95 Pageid#:
                                    5409
                       Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 92

 1         A.    I don't know the number, but it wasn't my

 2 actual building.           But maybe the next building over.

 3 Yeah, the next building over.

 4         Q.    Would looking at that map of North Hills

 5 Court refresh your memory?

 6         A.    It was 109.

 7         Q.    I'm sorry?

 8         A.    One oh nine.

 9         Q.    So Ashanna lived in 109?

10         A.    Yes.

11         Q.    Do you remember which apartment letter?

12         A.    No.

13         Q.    Do you remember which floor?

14         A.    I think she was the third floor, too, the

15 last floor, the top.             Yeah.

16         Q.    And who were the names of the other people

17 living with her?

18         A.    As far as I know, she was living by herself.

19         Q.    You never heard of anyone staying with her?

20         A.    No.     Because when she, I don't know.

21 Because when she first moved up there, I wasn't

22 talking to her.          But I remember her saying she did get

23 the apartment with somebody, but I think they left her

24 with the apartment.             But I just don't remember who.

25         Q.    And did you ever go over to Ashanna's




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 44 of 95 Pageid#:
                                    5410
                       Testimony of Ashley Ross   May 7, 2018   VR # 16402-276     Page 93

 1 apartment?

 2         A.    Not like that.            Like back when me and my

 3 best friend first moved over there, but, no, not like

 4 that.

 5         Q.    And who else stayed at Ashanna's apartment?

 6         A.    Her.     She had a boyfriend at the time.

 7         Q.    Who was that?

 8         A.    His name was Taiquan.

 9         Q.    Taiquan?

10         A.    Yeah.

11         Q.    Do you remember Taiquan's last name?

12         A.    No, but it was Taiquan.

13         Q.    So Taiquan, and I assume you mentioned that

14 because he would stay over there sometimes?                           If they

15 were dating.

16         A.    They was together.

17         Q.    Who else would stay over with them?

18         A.    I don't really know.                I don't know.

19         Q.    You don't know?

20         A.    No.     Who would stay with her, no.

21         Q.    Who would hang out there?

22         A.    I know Tredarius was over there one time.

23 That's, I don't know, I don't know.

24         Q.    If I say the name Doc to you, does that ring

25 a bell?




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 45 of 95 Pageid#:
                                    5411
                     Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 94

 1         A.    Yeah, I know Doc.

 2         Q.    Who's Doc?

 3         A.    Doc.    We went to school together.

 4         Q.    Is he a guy?

 5         A.    Yes, yeah.

 6         Q.    You ever see him hang out in North Hills

 7 Court?

 8         A.    Yeah.

 9         Q.    Yeah?    Where did he stay, where did he hang

10 out at North Hills Court?

11         A.    He used to be there, but I don't know if he

12 used to stay there.           But he used to be there.

13         Q.    When you say be there, where are we talking

14 right now?

15         A.    Doc.    About Doc.

16         Q.    When Doc would hang out there, is there any

17 ...

18         A.    Oh, at Ashanna's house.

19         Q.    Let me ask the question again and make sure

20 we get it right.         When Doc was at North Hills Court,

21 where would he hang out?

22         A.    At Ashanna's house.

23         Q.    Okay, so I'm sorry, I interrupted you

24 earlier.      You said you knew an Ashanna who lived at

25 North Hills Court.          Did you know anyone else living at




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 46 of 95 Pageid#:
                                    5412
                       Testimony of Ashley Ross   May 7, 2018   VR # 16402-276    Page 95

 1 North Hills Court or staying at North Hills Court?

 2         A.    I knew Tenikqua, Taniqua, and Shanicqua.

 3         Q.    Tenikqua, Taniqua, okay.                  Let's start with

 4 the first one.         Who's the first one you mentioned?

 5         A.    Tenikqua.

 6         Q.    And how do you spell her name?

 7         A.    T-E-N-I-K-Q-U-A.

 8         Q.    And what's her last name?

 9         A.    Fuller.

10         Q.    Same Tenikqua Fuller we've been talking

11 about today?

12         A.    Yes.

13         Q.    And which building did she live in?

14         A.    One fifteen.           Yeah, 115.

15         Q.    Do you remember the letter?

16         A.    No.

17         Q.    Do you remember what floor?

18         A.    Bottom.

19         Q.    And did that apartment also like yours face

20 out on the parking lot?

21         A.    Yes.

22         Q.    And who was staying with her?

23         A.    Well, Tae wasn't, Taniqua.                     I think she had

24 moved out, I want to say she had moved out.

25         Q.    Well, let me ask you this.                     Was there a




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 47 of 95 Pageid#:
                                    5413
                     Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 96

 1 period of time when somebody named Taniqua Guy was

 2 staying with Tenikqua Fuller?

 3         A.    Yeah, that's who I'm talking about, yes.

 4         Q.    And do you remember when Taniqua Guy moved

 5 away from North Hills Court?

 6         A.    She moved maybe the end of June.

 7         Q.    Twenty sixteen?

 8         A.    Yes.

 9         Q.    And after Taniqua Guy moved away from North

10 Hills Court, did she come back and hang out, though,

11 sometimes.

12         A.    Not often.       Not often.

13         Q.    And you said Shanicqua.

14         A.    Yes.

15         Q.    Did Shanicqua, is this Shanicqua Coleman?

16         A.    Yes.

17         Q.    And did Shanicqua Coleman also stay or live

18 with Tenikqua Fuller and Taniqua, or Tenikqua Fuller,

19 period?

20         A.    Yes.

21         Q.    Can I ask that question all over again

22 because I messed it up?

23         A.    Okay.

24         Q.    Was there a time when Shanicqua Coleman

25 lived with Tenikqua Fuller at North Hills Court?




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 48 of 95 Pageid#:
                                    5414
                     Testimony of Ashley Ross   May 7, 2018   VR # 16402-276        Page 97

 1         A.    Yes.

 2         Q.    What time was that, what period of time?                      Do

 3 you remember?

 4         A.    I don't remember when she moved in, but, I

 5 don't know, she, I don't know.                  Probably, I don't

 6 know, she probably was there when they first moved in.

 7 And I think they first moved in, in like May 2016.

 8 But she, I think she was there when Tae moved out.

 9         Q.    And when did they move out, Tenikqua Fuller

10 move out?

11         A.    I don't know exactly when, but not too far

12 after I did maybe.

13         Q.    And Shanicqua Coleman had a child at that

14 time, right?

15         A.    Yes.

16         Q.    Aiden?

17         A.    Yes.

18         Q.    And was Aiden living with her and Tenikqua

19 Fuller and for a period of time Taniqua Guy at that

20 apartment in Building 115?

21         A.    Yes.

22         Q.    Was there anyone else that was staying in,

23 let's call it Tenikqua Fuller's apartment, in 115.                          Is

24 there anyone else that was staying or living there

25 while you lived at North Hills Court?




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 49 of 95 Pageid#:
                                    5415
                     Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 98

 1         A.    Besides the baby and Shanicqua, I mean, her

 2 and Kevin, they was, I don't know what they was, but.

 3         Q.    Who's the her in your sentence?

 4         A.    Tenikqua.

 5         Q.    Fuller?

 6         A.    Yes.

 7         Q.    Is there a period of time when Kevin Trent

 8 and Tenikqua Fuller dated?

 9         A.    Yes.

10         Q.    And do you remember that time period, from

11 when to when?

12         A.    Uh-uh (Indicating negatively).

13         Q.    Is it fair to say that they were dating

14 during the summer of 2016 when all of you all were

15 living over at North Hills Court?

16         A.    On and off you could say, yes.

17         Q.    And would he come over and hang out at North

18 Hills Court to stay with her or hang out with her?

19         A.    Yes.

20         Q.    And the her is Tenikqua Fuller?

21         A.    Yes.

22         Q.    And because he was dating Tenikqua Fuller,

23 did he stay the night to your knowledge?

24         A.    Yes.

25




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 50 of 95 Pageid#:
                                    5416
                    Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 100

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14         Q.    Go back, scratch.             During the summer of 2016

15 and into the fall of 2016, did you own a black Impala?

16         A.    Yes, it was in my name, yes.

17         Q.    It was in your name?

18         A.    Yes.

19         Q.    But who used it?

20         A.    Phillip.

21         Q.    Did you, was it your car other than in name

22 only?

23         A.    No.

24         Q.    I mean, did you put gas in it, did you pay

25 for it ...




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 51 of 95 Pageid#:
                                    5417
                    Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 101

 1         A.    No.

 2         Q.    ... did you change its oil?

 3         A.    No.

 4         Q.    That was all his responsibility?

 5         A.    Yes.

 6         Q.    And did you ever see Phillip driving that

 7 car around?

 8         A.    Yes.

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Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 52 of 95 Pageid#:
                                    5418
                    Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 104

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 9         Q.    Now in June of 2016, do you remember a big

10 shootout that occurred in North Hills?

11         A.    In June?

12         Q.    Yes, ma'am.

13         A.    Yes.

14         Q.    And specifically I'm going to refer to an

15 incident where Nasia's pinky finger got shot.

16         A.    Yes.

17         Q.    Do you recall that incident?

18         A.    Yes.

19         Q.    Were you in North Hills Court at that time?

20         A.    Yes.

21         Q.    Where were you?

22         A.    In the house.

23         Q.    In your apartment?

24         A.    Yes.

25         Q.    And who was with you in your apartment?




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 53 of 95 Pageid#:
                                    5419
                    Testimony of Ashley Ross   May 7, 2018    VR # 16402-276   Page 105

 1         A.    It was me, Tanasia, and Tredarius.

 2         Q.    Any children?

 3         A.    Oh, Harmony, yes.

 4         Q.    Anyone else?

 5         A.    No.

 6         Q.    Okay, what happened?              Were you guys hanging

 7 out?

 8         A.    No, we just got home.

 9         Q.    From?

10         A.    Frank's, some Thai place.                   We ordered some

11 pizza and stuff.         And we got home, everybody got

12 situated, she went outside, and there was just

13 shooting.

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Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 54 of 95 Pageid#:
                                    5420
                    Testimony of Ashley Ross   May 7, 2018   VR # 16402-276        Page 124

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15         Q.    Okay, do you remember the day that Mouse got

16 killed at North Hills Court?

17         A.    Some of it, yes.

18         Q.    Only some of it?

19         A.    Yes.

20         Q.    What day, what was the date?

21         A.    Oh, god, I don't remember the date.                      I just

22 know August.

23         Q.    Of 2016?

24         A.    Yes.

25         Q.    Where were you when you woke up that day, do




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 55 of 95 Pageid#:
                                    5421
                     Testimony of Ashley Ross   May 7, 2018   VR # 16402-276       Page 125

 1 you remember?

 2         A.      When I woke up that day?

 3         Q.      Yes, the day Mouse was killed, where were

 4 you?

 5         A.      At home, 111.

 6         Q.      And who was there that morning?                   Well, first

 7 of all, when did you wake up, do you remember?

 8         A.      What time?

 9         Q.      What time did you wake up, do you remember?

10         A.      What time?

11         Q.      Yeah, about what time?

12         A.      I don't know.        I don't know.

13         Q.      Morning, afternoon?

14         A.      It was probably going into the afternoon,

15 because that's when I was sleeping, started sleeping

16 late.        So it was probably like going into the

17 afternoon.

18         Q.      And when you were sleeping late, who was

19 taking care of Harmony?

20         A.      Tanasia, or sometimes she'd be in the bed

21 with me.        Because she was spoiled, so she ain't really

22 deal with it.

23         Q.      I'm sorry?

24         A.      I said she was very spoiled, so she didn't

25 really deal with people.               So sometimes she'd be in




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 56 of 95 Pageid#:
                                    5422
                    Testimony of Ashley Ross   May 7, 2018   VR # 16402-276    Page 126

 1 there with Nasia or she'd just stay in the bed with me

 2 and look at TV.

 3         Q.    And so on the day that Mouse was killed at

 4 North Hills Court, do you remember what time you woke

 5 up?

 6         A.    No.

 7         Q.    Was your practice about this time to wake up

 8 sort of in the afternoon?               Was it your habit to wake

 9 up in the afternoon?

10         A.    Yes.

11         Q.    And what was your habit, what was your

12 general time that you would wake up?

13         A.    It was on and off because I was pregnant

14 with my second child then, so it was, sometimes it

15 would be early, sometimes it would be late.

16         Q.    And you were pregnant with Phillip Miles'

17 child at this time, right?

18         A.    Yes.

19         Q.    And when you woke up that day at your

20 apartment in North Hills Court, who was there?

21         A.    Me, Tanasia, and Tredarius and Harmony.

22         Q.    No one else?

23         A.    No.

24         Q.    And what did you do that day?                   So you woke

25 up?




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 57 of 95 Pageid#:
                                    5423
                     Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 127

 1         A.      I woke up, me and Harmony got dressed and we

 2 left.        We left.

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Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 58 of 95 Pageid#:
                                    5424
                    Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 129

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14         Q.    And when she picked you up, did she have

15 anything with her?

16         A.    No, besides balloons and stuff, that's it.

17         Q.    And you went from your apartment to where?

18         A.    I think we went straight to Megabounce,

19 yeah, straight to Megabounce.

20         Q.    And when you left your apartment, who was in

21 your apartment?

22         A.    Tanasia and Tredarius.

23         Q.    Anyone else?

24         A.    No.

25




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 59 of 95 Pageid#:
                                    5425
                    Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 140

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19         Q.    I'm asking you as you sit here today under

20 oath before this Grand Jury, who was in your apartment

21 the night Mouse was killed?

22         A.    Okay, no, Deshaun was not there.

23         Q.    Deshaun was not there?

24         A.    No.

25




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 60 of 95 Pageid#:
                                    5426
                    Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 144

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 4         Q.    Was MC there?

 5         A.    No.

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Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 61 of 95 Pageid#:
                                    5427
                    Testimony of Ashley Ross   May 7, 2018   VR # 16402-276     Page 145

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 6         Q.    What was going on in your apartment when you

 7 came home?

 8         A.    When I came home, got to the back, I heard

 9 Shon ...

10         Q.    What was everyone doing?                I'm sorry, I cut

11 you off.      Go ahead.       Ms. Ross, I apologize.

12         A.    Everybody was sitting there.                  Like I said, I

13 didn't talk really say much to nobody.                      Because I was

14 already mad or whatever.              Then I was wondering why

15 everybody was in my house, but I went to the back,

16 whatever, talked to Nasia, whatever.                      Then we started

17 hearing, you know, I asked her what was going on.

18 Because when I first came in, like, it was Shon Don

19 arguing with somebody.

20         Q.    With who?

21         A.    So I, hmm?

22         Q.    I'm sorry, who was Shon Don arguing with?

23         A.    I want to say it was Peter Roll.

24         Q.    Was Peter Roll there?

25         A.    No.




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 62 of 95 Pageid#:
                                    5428
                    Testimony of Ashley Ross   May 7, 2018    VR # 16402-276    Page 146

 1         Q.    And how was Shon Don arguing with Peter

 2 Roll?

 3         A.    On the phone.

 4         Q.    Was     Shon Don on a cell phone?

 5         A.    Yeah.

 6         Q.    Was he talking?

 7         A.    Yes.

 8         Q.    And that's why he was arguing?

 9         A.    Yes.

10         Q.    And how did you know it was with Peter Roll?

11         A.    Because I heard the name.                   Or did I ...

12         Q.    Who said the name?

13         A.    ... hear the name?             No, I didn't hear the

14 name, I had asked, I got to the back and I had asked

15 Tanasia what was going on and she was just like him

16 and Peter Roll had got into something.

17         Q.    And what else was happening?                   Shon Don's on

18 the phone arguing.

19         A.    Yeah, you hear ...

20         Q.    Loud?

21         A.    Yeah.

22         Q.    Could you hear it?

23         A.    Yeah, you could hear them arguing like.

24 They not really, it's not really arguing for real,

25 it's just like you could hear them saying pull up,




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 63 of 95 Pageid#:
                                    5429
                    Testimony of Ashley Ross   May 7, 2018   VR # 16402-276       Page 147

 1 pull up.

 2         Q.     Who was saying pull up, pull up?

 3         A.     Shon Don.

 4         Q.     What else was Shon Don saying that you could

 5 hear?

 6         A.     That just mostly that.              Then they just, boys

 7 having, yeah, boys having words.                   Having words.           I

 8 don't actually know what their argument was about,

 9 though.

10         Q.     And how can you tell it was boys having

11 words?       What was Shon Don doing that made you think

12 that boys were having words?

13         A.     Cussing.

14         Q.     Cussing?

15         A.     Yeah.

16         Q.     Was he loud?

17         A.     Yeah.

18         Q.     Was he yelling?

19         A.     Yeah.

20         Q.     What were the types of things that he was

21 saying?

22         A.     Like the B word and like I said, to pull up,

23 all that, yeah.

24         Q.     Was he being aggressive?               What was his

25 attitude like?




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 64 of 95 Pageid#:
                                    5430
                    Testimony of Ashley Ross   May 7, 2018   VR # 16402-276          Page 148

 1         A.    Yeah, aggressive, like, yeah.

 2         Q.    And when Shon Don was doing that, what were

 3 other people doing?

 4         A.    I really didn't hear nobody else.

 5         Q.    What were they doing, though?

 6         A.    Oh, I don't know.             I was in the back.             But,

 7 yeah, I started hearing them with a, then I was asking

 8 Nasia what was going on, whatever.                    She was just like

 9 something happened, she didn't know.                      And it led to an

10 argument or whatever.            And then like, not even a few

11 minutes, like two minutes or so like you could just

12 hear gunshots.        You hear gunshots.

13         Q.    From where?        Where are the gunshots coming

14 from?

15         A.    From the outside.

16         Q.    Outside?

17         A.    Yes.

18         Q.    Some of them weren't coming from inside your

19 apartment?

20         A.    No.

21         Q.    Ms. Ross, you're under oath.

22         A.    Yes.

23         Q.    No gunshots coming from inside your

24 apartment?

25         A.    I didn't see nothing personally but, I mean,




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 65 of 95 Pageid#:
                                    5431
                    Testimony of Ashley Ross   May 7, 2018   VR # 16402-276          Page 149

 1 it was just gunshots.

 2         Q.    Okay.    Were they loud?

 3         A.    Yes.

 4         Q.    How many were there?

 5         A.    I don't know, but it was a lot.

 6         Q.    Did it sound like some of them were coming

 7 from inside your apartment?

 8         A.    When it started, I hurried up and closed my

 9 door, so.

10         Q.    And did they sound like they were coming

11 from inside your apartment?

12         A.    They was close.           I mean, gunshots is, I

13 don't know.       They were close.

14         Q.    Is that a yes or no to my question?                      I don't

15 think you've answered it yet.                 Did it sound like the

16 gunshots were coming from inside your apartment?

17         A.    No, it didn't sound like it, no.

18         Q.    And from where you were in the back of your

19 apartment to the front living room window that we were

20 looking at earlier, how far?

21         A.    Oh, god, what you mean?

22         Q.    What's the distance?

23         A.    Like, I don't know.             A little longer than,

24 well, probably not that big.                 Maybe like a little

25 longer than this room is the apartment, maybe.                             From




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 66 of 95 Pageid#:
                                    5432
                    Testimony of Ashley Ross   May 7, 2018   VR # 16402-276    Page 150

 1 the living room to the bedroom.

 2         Q.    And when you ran, gunshots started and you

 3 ran to shut the door, what did you see?

 4         A.    I didn't run.         Like the door was right there

 5 and I just shut it.

 6         Q.    Did you look out?

 7         A.    No.

 8         Q.    And then what did you do?

 9         A.    I grabbed my daughter.               I grabbed my

10 daughter and I started praying.                  Then eventually they

11 stopped.      Yeah, eventually they stopped and it was

12 silence.      And you could just hear, I don't know who he

13 was, you could just hear him yelling.                      You could just

14 hear him yelling saying, wrong guy, wrong guy.

15 Something like that.

16         Q.    And where was Nasia while these gunshots

17 were going on?

18         A.    She was with me in the back.

19         Q.    What was she doing?

20         A.    Laying there with me and Harmony.

21         Q.    And how long did the gunshots last?

22         A.    I don't know, maybe, I don't know.                      A

23 minute?      I don't know.

24         Q.    And what did you do when the gunshots

25 stopped?




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 67 of 95 Pageid#:
                                    5433
                     Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 151

 1         A.      I sat there for, I sat there for a little

 2 minute, for a while.            Then I got up and I laid Harmony

 3 down.        No, I put Harmony in her room.                 I took her in

 4 her room and I closed the door.                   I got up and walked

 5 down the hallway.           And I went to the door.

 6         Q.      When you were walking down the hallway, what

 7 did you see?

 8         A.      Nobody but Bub.

 9         Q.      You didn't see anyone in your apartment?

10         A.      But Tredarius.

11         Q.      Tredarius was still in your apartment?

12         A.      Yes.

13         Q.      Who else?

14         A.      Just Tredarius.

15         Q.      And what was Tredarius doing when you saw

16 him as you were walking down the hallway?

17         A.      His eyes was just big, like.                 He, because

18 when I was, when I had, when I had came out of,

19 because we wasn't in my room, we was in Nasia's room.

20 So when I came out of Nasia's room, I want to say he

21 was coming out of Harmony's room.                     I believe he was

22 coming out of Harmony's room.

23         Q.      Okay, that's different from what you said

24 before.        Again, something you've changed since talking

25 to the police.




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 68 of 95 Pageid#:
                                    5434
                     Testimony of Ashley Ross   May 7, 2018   VR # 16402-276     Page 152

 1         A.     He was coming down the hallway, I know that.

 2 He was coming down the hallway.

 3         Q.      Okay, sitting here today under oath before

 4 this Grand Jury, where was Tredarius when you were

 5 coming off the hallway?

 6         A.     He was coming down the hallway.

 7         Q.      Do you know where he was before that?

 8         A.     The living room maybe, yeah, the living room

 9 or the kitchen.         The kitchen, because the way the

10 hallway is the kitchen right there, and the living

11 room.        He was just coming down the hallway.

12         Q.      And what was he doing?

13         A.     Scratching his head.

14         Q.      He was just scratching his head?

15         A.     Yeah, he was scratching his head.                     He was

16 like, what was he saying?                He was like he don't F with

17 niggers or something like that.                   I don't know.

18         Q.      What did he say exactly?

19         A.     He don't F, he don't F with niggers or

20 something like that.

21         Q.      Okay, again, you're changing a little bit

22 from what you said to the police.

23         A.     That's what he said.              He said he don't F

24 with niggers and, well, he said he, I don't remember.

25 He said he didn't have, I know he didn't have nothing




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 69 of 95 Pageid#:
                                    5435
                    Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 153

 1 to do with it, but that's what he was saying.

 2         Q.    How do you know that Tredarius Keene had

 3 nothing to do with it?

 4         A.    Because, I don't know.

 5         Q.    How did you know when you were in that back

 6 room?

 7         A.    I just don't think he had nothing to do with

 8 it, because he wasn't even really fooling with them

 9 like that.      That's why I didn't understand why people

10 was at my house.

11         Q.    Well, let's be clear.              Where were you at the

12 time of the shooting?

13         A.    In the back room to the right.

14         Q.    And who was with you?

15         A.    Me, Tanasia, and Harmony.

16         Q.    And you had shut the door.                  Do I remember

17 correctly?

18         A.    Yes.

19         Q.    Were you able to see what was going on in

20 the rest of your apartment?

21         A.    No.

22         Q.    Were you able to see where people went while

23 the shooting was on?

24         A.    No.

25         Q.    Now when you were coming down the hallway




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 70 of 95 Pageid#:
                                    5436
                     Testimony of Ashley Ross   May 7, 2018   VR # 16402-276         Page 154

 1 and Tredarius Keene was coming at you shaking his

 2 head, what was his demeanor like?

 3         A.      Like what do you mean his demeanor like?

 4         Q.      Do you know what demeanor means?                    Like how

 5 was he acting?

 6         A.      I mean, he was like, I wouldn't say he was

 7 shook, but he was just like scratching his head.                             He

 8 was like they don't F with niggers and something else.

 9 I can't think.         I do remember, I remember him saying

10 he don't F with niggers.               I do remember that.

11         Q.      Was he armed?

12         A.      No, no.

13         Q.      You could see both his hands?

14         A.      Yes.

15         Q.      And then what happened?

16         A.      And then you could hear the man outside.

17 You could hear the man outside yelling, screaming,

18 yeah.        You could hear him outside yelling and

19 screaming.        I went to the door.

20         Q.      Which door?

21         A.      My front door.         I went to my front door and

22 then like right when I got to my front door, that was

23 when the police had started pulling up.                        And then I

24 made sure Harmony was in her bed and stuff.                          Because

25 right after that, she went right to sleep.                          I made




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 71 of 95 Pageid#:
                                    5437
                    Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 155

 1 sure she was all right, put her in her bed, and then I

 2 went outside.

 3         Q.    And when you came out of the back room and

 4 you saw Tredarius in the hallway and you went towards

 5 the front door, do I have it right so far?

 6         A.    Hold on, say it again.

 7         Q.    Yes, ma'am.        When you came down the hallway

 8 and you went towards the front door, where were all

 9 those guys that you were talking about who were in

10 your apartment earlier?

11         A.    Nobody was there.             It was just Bub coming

12 down the hallway.

13         Q.    And you said that after the shooting you

14 were in that room for a minute.

15         A.    Yeah, like not a minute, but like.

16         Q.    What did you mean is the question I'm

17 asking.

18         A.    Like a little while.              Like after the

19 shooting I sat there for a little while.

20         Q.    And when you came out of your, of the

21 bedroom you were in, did you see any smoke?

22         A.    No, I didn't see any smoke.                  It was dark.

23         Q.    Did you smell anything?

24         A.    No.

25         Q.    Was your front window open?




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 72 of 95 Pageid#:
                                    5438
                    Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 156

 1         A.    No.

 2         Q.    Were there shell casings in your living

 3 room?

 4         A.    No.

 5         Q.    There were no shell casings in your living

 6 room?

 7         A.    No, I didn't, it was dark.                  I didn't see

 8 nothing.

 9         Q.    Did you see shell casings in your living

10 room later that night or the next day?

11         A.    No.

12         Q.    And you didn't help pick up any shell

13 casings and dispose of them?

14         A.    No.

15         Q.    So if someone said that you did, that would

16 be lie, they'd be lying?

17         A.    Yes.

18         Q.    And so if someone else said there were shell

19 casings in your living room, they would be lying?

20         A.    I didn't, I mean, I'm not going to call

21 nobody no liar, but I know I didn't see any.

22         Q.    And what did Tanasia do after that shooting?

23 You said she was in that back room with you and you

24 guys were holding each other, right?

25         A.    I was holding my daughter.




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 73 of 95 Pageid#:
                                    5439
                    Testimony of Ashley Ross    May 7, 2018   VR # 16402-276   Page 157

 1         Q.     And what was Tanasia doing during the

 2 shooting?

 3         A.    She was laying down.               She was laying down.

 4         Q.     Just calmly laying there?

 5         A.    No, she was covering her ears and I was

 6 holding my daughter.

 7         Q.     And then what did Tanasia do?

 8         A.    She was cussing.              She was like, what the,

 9 you know.

10         Q.     And what else?

11         A.    That's it because after the gunshots, that's

12 when I got up, opened the door.                   I opened the door to

13 the room that we was in and I went to the front door

14 and I heard them.          Well, you could hear him screaming

15 in the back room, that's why I had waited before I had

16 got up.

17               Then I had got up and went to the front door

18 and you could still hear him.                  And then I, when I

19 eventually, right when I got to the door maybe, that

20 was when the police came.               I made sure Harmony was all

21 right.       She went to sleep and I went outside.

22         Q.     What was Tanasia Coleman doing during this

23 period of time you were just describing?

24         A.    She was still in the back.                   She didn't get

25 up when I got up.




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 74 of 95 Pageid#:
                                    5440
                    Testimony of Ashley Ross   May 7, 2018    VR # 16402-276    Page 158

 1         Q.    She didn't come out of the bedroom after the

 2 shooting?

 3         A.    Not while I was in there.                   She was still in

 4 the back.

 5         Q.    And what was Tredarius Keene doing during

 6 this time that you just described other than walking

 7 down the hallway and saying that?

 8         A.    He was just walking back and forth.

 9         Q.    He was just walking back and forth?

10         A.    Yeah.

11         Q.    And what was he acting like?                   What was he

12 doing?

13         A.    He wasn't really, well, he was acting like

14 it was, well, at the time we didn't know the person,

15 if he was dead or not.             He was just like somebody was,

16 yeah, saying somebody was dead outside.                        He was just

17 walking back and forth.

18         Q.    And he was saying someone's dead outside?

19         A.    Yeah.

20         Q.    Did you call 9-1-1?

21         A.    No, I didn't have a phone.

22         Q.    Did Nasia call 9-1-1?

23         A.    No.

24         Q.    Did Tredarius call 9-1-1?

25         A.    No.




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 75 of 95 Pageid#:
                                    5441
                    Testimony of Ashley Ross   May 7, 2018   VR # 16402-276     Page 159

 1         Q.    How did Tredarius Keene know someone was

 2 dead outside your all's apartment building?

 3         A.    I guess he looked out the window.                     And he

 4 could hear them, well, you could hear them screaming

 5 and yelling outside.           You could hear them like you

 6 would have thought somebody was dead outside.

 7         Q.    Did you see Tredarius Keene look out the

 8 front window?

 9         A.    No.

10         Q.    Did there come a time when the police came

11 and knocked on your apartment door?

12         A.    Yes.

13         Q.    When was that?

14         A.    It was while I was outside, I know that.

15         Q.    So when you went outside and left your

16 daughter inside after the shooting and you went

17 outside, did you see anyone outside that you

18 recognized?

19         A.    Yeah, well, the whole apartment complex was

20 outside.

21         Q.    So who did you see outside that you

22 recognized?

23         A.    Tae.

24         Q.    Which Tae?

25         A.    Taniqua.




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 76 of 95 Pageid#:
                                    5442
                    Testimony of Ashley Ross    May 7, 2018   VR # 16402-276       Page 160

 1         Q.    Taniqua Guy?

 2         A.    Yeah.

 3         Q.    Who else?

 4         A.    Tenikqua Fuller.              I can't remember if

 5 Shanicqua was out there or not.                   I don't know.             I

 6 can't remember.        Jaquia.        I don't know, it was a lot

 7 of people.

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Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 77 of 95 Pageid#:
                                    5443
                    Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 161

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 4         Q.    Did you ever see Javonte Holland that night?

 5         A.    Who?

 6         Q.    Tae Holland.

 7         A.    Okay.

 8         Q.    Your best friend.

 9         A.    No.

10         Q.    You talked about him earlier, right?

11         A.    Yeah.

12         Q.    Did you ever see him that night?

13         A.    No.

14         Q.    In your apartment?

15         A.    No.

16         Q.    Outside at North Hills Court?

17         A.    No.

18         Q.    When you go outside, do you see Stevie

19 Johnson?

20         A.    No.

21         Q.    So all those guys that were in your house,

22 gone?

23         A.    Yes.

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Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 78 of 95 Pageid#:
                                    5444
                    Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 191

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 6         Q.    Has anyone told you what to say in the Grand

 7 Jury?

 8         A.    No.

 9         Q.    Are you high right now?

10         A.    No.

11         Q.    Any drugs today?

12         A.    No.

13         Q.    Any alcohol today?

14         A.    No.

15         Q.    Are you on any medications that affect your

16 ability to perceive or recall?

17         A.    No.

18         Q.    Okay.    Have you understood everything I've

19 asked you?

20         A.    Yeah.    Yes.

21         Q.    You understand what's going on in here?

22         A.    Yes.

23         Q.    Anyone made you any promises in exchange for

24 your testimony?

25         A.    No.




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 79 of 95 Pageid#:
                                    5445
                    Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 192

 1         Q.    Anyone threatened you?

 2         A.    Don't nobody know I'm here.

 3         Q.    I'm sorry?

 4         A.    Don't nobody know I'm here.

 5         Q.    Has anyone promised you anything in exchange

 6 for your testimony?

 7         A.    No.

 8         Q.    Has anyone threatened you?

 9         A.    No.

10         Q.    Has anyone told you what to say in the Grand

11 Jury?

12         A.    No.

13         Q.    Have I told you what to say in the Grand

14 Jury?

15         A.    No.

16         Q.    Okay, I told you to tell the truth.

17         A.    Yes.

18         Q.    Have I told you to say anything other than

19 the truth?

20         A.    No.

21         Q.    Is there anything about your testimony here

22 today you would like to change?

23         A.    No.    No.

24         Q.    Nothing about what happened on the night of

25 the North Hills Court murder that you would like to




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 80 of 95 Pageid#:
                                    5446
                    Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 193

 1 change?

 2         A.    No.

 3         Q.    Okay.       Is there anything that you would like

 4 to add that you left out?

 5         A.    No.

 6         Q.    Can I ask you one more time about shell

 7 casings in your apartment the night that Mouse got

 8 killed?

 9         A.    No, I did not see none, no I did not pick

10 anything up.        No.

11         Q.    Okay, never?

12         A.    No.

13         Q.    Never cleaned up your apartment from

14 gunshots or gun smoke in your apartment?

15         A.    Did I clean it up, now I cleaned it up the

16 next morning but I would just clean.

17         Q.    You cleaned your apartment the next morning?

18         A.    Yes.

19         Q.    But that was just regular cleaning?

20         A.    Yes.

21         Q.    You weren't cleaning because there were

22 shell casings there?

23         A.    No, I never saw any shell cases, no.

24         Q.    You weren't cleaning because of gun powder

25 residue from shooting in your window?




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 81 of 95 Pageid#:
                                    5447
                    Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 194

 1         A.    I don't even know what that is, no.

 2         Q.    You don't remember if there was gun powder

 3 residue?

 4         A.    I said I don't know what it is, like, gun,

 5 like, no.

 6         Q.    So your cleaning the next morning after the

 7 North Hills murder had nothing to do with the murder

 8 itself?

 9         A.    No.

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Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 82 of 95 Pageid#:
                                    5448
                    Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 197

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 5         Q.    Anybody else clean the apartment that you're

 6 aware of?

 7         A.    Not while I was in there, no.

 8         Q.    The next day did anybody clean the

 9 apartment?

10         A.    No, just me.         I, well, I didn't even really

11 clean it, I just straightened my kitchen up.

12         Q.    Tanasia clean it?

13         A.    Not as far as I know.              I don't know.

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Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 83 of 95 Pageid#:
                                    5449
                    Testimony of Ashley Ross   May 7, 2018   VR # 16402-276        Page 203

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 8         Q.    I'm showing you Grand Jury Exhibit AR8.                      Do

 9 you see this?

10 (WHEREUPON, the Witness examined the document

11 previously marked Grand Jury Exhibit-AR8 for

12 Identification.)

13         A.    Yes.

14         Q.    And this is your signature?

15         A.    Yes.

16         Q.    And this is a photo you identified earlier

17 today as Laquante Adams?

18         A.    Yes.

19         Q.    Is that the same Laquante Adams we were

20 talking about earlier?

21         A.    Yes.

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Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 84 of 95 Pageid#:
                                    5450
                    Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 208

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11         Q.    I'm showing you what's been marked as Grand

12 Jury Exhibit AR14.          Do you see this?

13 (WHEREUPON, the Witness examined the document

14 previously marked Grand Jury Exhibit-AR14 for

15 Identification.)

16         A.    Yes.

17         Q.    And is that your signature on the bottom

18 right-hand corner?

19         A.    Yes.

20         Q.    Is this someone you've identified as Tanasia

21 Coleman?

22         A.    Yes.

23         Q.    Is this the same Tanasia Coleman we've been

24 talking about here today?

25         A.    Yes.




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 85 of 95 Pageid#:
                                    5451
                    Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 209

 1         Q.    Is this the person you've identified as

 2 Nasia?

 3         A.    Yes.

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Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 86 of 95 Pageid#:
                                    5452
                    Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 212

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17         Q.    I'm showing you what's been marked as Grand

18 Jury Exhibit AR20.          Do you see this?

19 (WHEREUPON, the Witness examined the document

20 previously marked Grand Jury Exhibit-AR20 for

21 Identification.)

22         A.    Yes.

23         Q.    And is that your signature on the bottom

24 right-hand corner?

25         A.    Yes.




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 87 of 95 Pageid#:
                                    5453
                    Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 213

 1         Q.    And this is someone you've identified as MC;

 2 correct?

 3         A.    Yes.

 4         Q.    Is that Matthew Ferguson?

 5         A.    Yes.

 6         Q.    Did you ever see Matthew, did you ever see

 7 MC driving around in that black Impala that was

 8 registered in your name?

 9         A.    Yes, a few times.

10         Q.    So Phillip let him drive that car around?

11         A.    Yes.

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Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 88 of 95 Pageid#:
                                    5454
                    Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 215

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16         Q.    I'm showing you what's been marked as Grand

17 Jury Exhibit 25, AR25.             Do you see this?

18 (WHEREUPON, the Witness examined the document

19 previously marked Grand Jury Exhibit-AR25 for

20 Identification.)

21         A.    Yes.

22         Q.    And is that your signature on the bottom

23 right-hand corner?

24         A.    Yes.

25         Q.    And this is someone you've identified as




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 89 of 95 Pageid#:
                                    5455
                    Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 216

 1 Tae; correct?

 2         A.    Yes.

 3         Q.    Is this the Tae Holland we were talking

 4 about earlier?

 5         A.    Yes.

 6         Q.    He's the person that you said used to be

 7 your best friend?

 8         A.    Yes.

 9         Q.    And you said you didn't see him at, the

10 night that Mouse was killed, right?

11         A.    No.

12         Q.    Do you see there where it says Grand Jury

13 AR-26?

14 (WHEREUPON, the Witness examined the document

15 previously marked Grand Jury Exhibit AR-26 for

16 Identification.)

17         A.    Yes.

18         Q.    Do you see that?

19         A.    Right.

20         Q.    Is that your signature in the bottom right-

21 hand corner?

22         A.    Yes.

23         Q.    And this is someone you've identified as

24 Stevie?

25         A.    Yes.




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 90 of 95 Pageid#:
                                    5456
                    Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 217

 1         Q.    Do you know Stevie's last name?

 2         A.    Johnson.

 3         Q.    Is this the same Stevie Johnson we've been

 4 talking about that hangs out with Phillip?

 5         A.    Yes.

 6         Q.    And some of the other guys?

 7         A.    Yes.

 8         Q.    I'm showing you right now what's been marked

 9 as Grand Jury Exhibit AR27.                 Do you see this?

10 (WHEREUPON, the Witness examined the document

11 previously marked Grand Jury Exhibit-AR27 for

12 Identification.)

13         A.    Yes.

14         Q.    And is that your signature on the bottom

15 right-hand corner?

16         A.    Yes.

17         Q.    And is this someone you've identified as

18 Tredarius Keene?

19         A.    Yes.

20         Q.    Is this the same Tredarius Keene or Bubs

21 that we've been talking about this whole day?

22         A.    Yes.

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Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 91 of 95 Pageid#:
                                    5457
                    Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 222

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 6         Q.    I'm showing you what's been marked as Grand

 7 Jury Exhibit AR35.          Do you see this?

 8 (WHEREUPON, the Witness examined the document

 9 previously marked Grand Jury Exhibit-AR35 for

10 Identification.)

11         A.    Yes.

12         Q.    And is that your signature on the bottom

13 right-hand corner?

14         A.    Yes.

15         Q.    And is this someone you've identified as

16 Jermay?

17         A.    Yes.

18         Q.    Who is Jermay?

19         A.    He be with Phillip and them.                  All of them.

20 They all grew up together.

21         Q.    What's Jermay's nickname?

22         A.    I don't know his nickname.                  I call him

23 Jermay.

24         Q.    Have you heard of people calling him Little

25 Trill?




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 92 of 95 Pageid#:
                                    5458
                    Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 223

 1         A.    Sometimes, but people call him Jermay.

 2         Q.    Last name Smith?

 3         A.    Yes.

 4         Q.    Was he at North Hills Court the night Mouse

 5 was killed?

 6         A.    No, no.      No.

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Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 93 of 95 Pageid#:
                                    5459
                    Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 234

 1                                  STIPULATION

 2

 3 The foregoing matter was taken on the date, and at

 4 the time and place set out on the title page hereof.

 5

 6 It was requested that the matter be taken by the

 7 reporter and that the same be reduced to typewritten

 8 form.

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Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 94 of 95 Pageid#:
                                    5460
                    Testimony of Ashley Ross   May 7, 2018   VR # 16402-276   Page 235

 1          CERTIFICATE OF REPORTER AND SECURE ENCRYPTED

 2         SIGNATURE AND DELIVERY OF CERTIFIED TRANSCRIPT

 3          I, STEPHEN GRIDER, Notary Public, do hereby

 4 certify that the forgoing matter was reported by

 5 stenographic and/or mechanical means, that same was

 6 reduced to written form, that the transcript prepared

 7 by me or under my direction, is a true and accurate

 8 record of same to the best of my knowledge and

 9 ability; that there is no relation nor employment by

10 any attorney or counsel employed by the parties

11 hereto, nor financial or otherwise interest in the

12 action filed or its outcome.

13          This transcript and certificate have been

14 digitally signed and securely delivered through our

15 encryption server.

16          IN WITNESS HEREOF, I have here unto set my hand

17    this 29th day of May, 2018.

18

19

20

21

22 /s/ STEPHEN GRIDER

23 COURT REPORTER / NOTARY

24 NOTARY REGISTRATION NUMBER: 277815

25 MY COMMISSION EXPIRES: MARCH 31, 2021




Case 4:18-cr-00011-MFU-RSB Document 831-1 Filed 09/25/19 Page 95 of 95 Pageid#:
                                    5461
